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MINUTE ENTRY
MILAZZO, J.
SEPTEMBER 5, 2019

 JS-10: 03:55


                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                       )      MDL No. 16‐2740
PRODUCTS LIABILITY LITIGATION                     )
                                                  )      SECTION: “H” (5)
                                                  )
THIS DOCUMENT RELATES TO:                         )
Applies to: 16‐17144 ‐ Barbara Earnest

                                     MOTION HEARING
                             Judge Jane Triche Milazzo presiding


LAW CLERK: SAMANTHA SCHOTT
COURT REPORTER: NICHELLE DRAKE
CASE MANAGER: ERIN MOULEDOUS
COUNSEL: See attached sign‐in sheet


Court begins at 1:00 p.m.
The following Motions in Limine are argued by counsel and Orders rendered as set forth below:

       MOTION in Limine to Preclude Any Comment or Argument That Dr. Carinder Is
       Responsible for Plaintiff’s Condition (R. Doc. 7653) is GRANTED IN PART & DENIED IN
       PART.

       MOTION in Limine to Preclude Testimony and Evidence Regarding Instances of Permanent
       Alopecia Among Those Prescribed Taxotere by Sanofi’s Experts (R. Doc. 7652) is
       GRANTED.

       MOTION in Limine to Preclude Testimony and Evidence Regarding Other Chemotherapy
       Medications or Medical Conditions That Purportedly Cause Permanent Hair Loss (R. Doc.
       7651) is GRANTED IN PART & DENIED IN PART.

       MOTION in Limine to Exclude Testimony and Argument That Taxotere Has Saved Lives (R.
       Doc 7660) is GRANTED IN PART & DENIED IN PART.
      Case
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      MOTION in Limine to Exclude Evidence and Argument Regarding Evaluations of Plaintiff
      by Formerly Retained Experts and Who Will Not Testify at Trial (R. Doc. 8108) is GRANTED.

      First Omnibus MOTION in Limine (R. Doc 7720) is DEFERRED insofar as it addresses
      evidence of adverse event reports or other complaints involving patients other than
      plaintiff. All other arguments in Doc. 7720 remain pending before the Court.

The following motions are argued by counsel and taken under submission by the Court:

      MOTION in Limine to Preclude Evidence of Unrelated Medical Conditions, Familial
      Medical History of Cancer, And Unrelated Medication Usage (R. Doc 7647)

      MOTION in Limine to Preclude Any Comment or Argument That Taxol Would Have
      Enhanced the Severity Of Plaintiff’s Neuropathy (R. Doc 7649)

      Second Omnibus MOTION in Limine to Preclude Evidence or Argument Concerning Sanofi
      Promotional And/Or Marketing Materials Not Possessed Or Relied On By Plaintiff Or Her
      Prescribing Physician (R. Doc 7657)

      Second Omnibus MOTION in Limine to Preclude Evidence or Argument Regarding Sanofi
      Sales Representatives (R. Doc 7657)

      MOTION in Limine to Preclude Evidence or Argument Concerning Correspondence
      between DDMAC and Sanofi by Defendant (R. Doc 7658)

      MOTION in Limine Excluding Improper Arguments or Suggestions Regarding FDA Approval
      (R. Doc. 7659)

      MOTION in Limine to Preclude Evidence or Argument Regarding Foreign Labeling and
      Regulatory Actions (R. Doc 7666)

      MOTION in Limine to Preclude Evidence and Argument that "Ongoing Alopecia" Data
      Observed in the Tax316 and GEICAM 9805 Clinical Trials Presents Evidence of "Persistent,"
      "Permanent," or "Irreversible” Alopecia (R. Doc 7668)

      MOTION in Limine to Preclude Evidence and Argument Regarding Shirley Ledlie and Any
      "Taxotears" or Other Third Party Advocacy or Communications Group or Group Members
      (R. Doc 7670)

      MOTION in Limine to Preclude Evidence and Argument Regarding Company Conduct that
      Post‐Dates Plaintiff's Chemotherapy Treatment (R. Doc 7671)

Order and Reasons to follow.
Court adjourned at 4:55 p.m.
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